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Tracey R. Thomas
Chief Executive Officer




                                                         January 2023
Hon. Judge Rakoff
U.S. District Court
Southern District of New York

RE: Sentencing of Willie Dennis

Your Honor,

I met Willie Dennis around 2001 while working as in-house counsel for American Express. I was still
relatively new to the city (NYC) arriving fresh from the Midwest, and Willie, being very well-connected,
welcomed me with open arms and introduced me to many of his well-established friends. Two things
struck me. First, it was obvious that his friends genuinely liked this diminutive man a great deal. Even
more telling about Willie was how much these people trusted his counsel not only in their business
matters but also in their personal lives.

In hindsight, the trust element was the primary reason that I eventually hired Willie as my own outside
counsel. As I moved within American Express, I took Willie with me. Other lawyers and business people
in the company saw Willie’s dedication to my professional and personal development and hired Willie as
well. Within just a few years he became one of the most trusted outside counsels for the company. Of
particular note, Willie became a close confidant of the CEO, the President, and the company General
Counsel as well as a couple of board members.

Of course, it was indeed his job to win us over and earn new business for his law firms. But C-Suite
people, in particular, don’t make new friends easily and certainly don’t invite just any new friend to
provide advice on sensitive business and personal matters. These are people that get paid for their
judgment. And they all, without exception, judged Willie to be worthy on the character front. Of course,
people also hired Willie because he gave great counsel and is a highly intelligent guy. But more than a
few lawyers fit that generic description. What truly separated Willie were his calm demeanor under
pressure, ethics, discretion and his never-ending love for his community. Regarding the latter, Willie
helped found, served on the board and was actively involved for over 10 years in a foundation launched
by American Express that offers financial literacy classes to lower income individuals in the Harlem
community. For his efforts, he never sought attention nor any compensation as far as I know. As with his
roles in Junior Achievement and the Upper Manhattan Empowerment Zone, it was a labor of love.

Sadly, though, I watched the issues of this world devastate my friend— the never-ending divorce and
custody problems, the loss of his job and livelihood, and now very significant health issues. While these
things could happen to anyone, for someone like Willie operating at the pinnacle of the legal industry
these events, coming one after another, had to be especially traumatizing. Race and Big Law politics
                                                                                                          IP Zone
                                                                                                99 Hudson Street
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                                                                                              New York, NY 10013
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certainly played a role. Being one of his top clients for many years and a long-time business partner, I
had a front row seat to the events that played out at his last law firm. I am neither absolving him of his
role in these matters nor pointing fingers at any individual or group. I am only referencing that the story
of how Willie went from being a most trusted, superstar counsel to where he is now is both very
complicated and layered. Nevertheless, during this period, and no matter how badly he was treated, I
never heard Willie express the desire to hurt or commit physical violence against anyone. Had he done
so it would have been completely out of character.

Still, through all of his trials, the essence of who he is has not changed— a trustworthy, empathetic
individual who has always been quick with a kind word or words of encouragement, slow to anger, and
without a violent bone in his body. While I know that he shoulders much of the blame for his actions, I
want the court to know that prior to the behavior that led to him being convicted, this is a man who, in his
business life, always chose diplomacy over confrontation, and reconciliation over revenge. Those traits
made him a highly successful lawyer and are the reasons why so many top businesspeople, politicians,
and others viewed him as their most trusted counselor.

In closing, I would like the Court to know that I communicated several times with Willie over the past
year. In those conversations, I could see that the old Willie was clearly still there, front and center. His
detention and the charges brought against him apparently awakened him from a fog that had taken over
his life for a brief few years, relatively-speaking. He was certainly in an alternate reality during that
period. I implore the Court, though, to not let these few years overshadow the vast majority of this
otherwise very good man’s life and his lifelong good works. At bottom, he is still the same family man I
have always known who has an abundance of love for his children, his parents, his friends and his
community. Finally, what I can promise is that, should you show lenience in his sentencing, Willie still
has many friends and family who love him dearly and will support him as he continues to rebound from
this most unhappy chapter of his story.

Sincerely yours,




Tracey Thomas
CEO
IP Zone Company




                                                                                                            IP Zone
                                                                                                  99 Hudson Street
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RICHARD PAUL STONE, ESQ.




January 11, 2023

Hon. Jed Rakoff
United States District Court
500 Pearl Street
New York, New York

Re:     Willie Dennis

Your Honor,

I write in support of my friend and colleague Willie Dennis respecting sentencing for his recent
conviction. Consistent with Section 3553, I will focus on the seriousness of his offense, respect
for the law, just punishment, future deterrence, and protection of the public. However, I must
share facts and circumstances I know about Willie that the Court may not so that this discussion
merits your consideration in determining the most just and individualized sentence for him.

I met Willie a few years ago on a legal matter where we shared representation. A big firm guy
with a glowing resume, he treated this solo practitioner with true respect and we stayed in touch
after the project ended. I was impressed with his warmth and curiosity about my life on Long
Island where he grew up, and my children, including my daughter who plays basketball for
Princeton and whom Willie has continued to follow while incarcerated. We are friends. I have
also been private counsel to Willie for some years and have advised him on multiple matters,
including with his matrimonial and employment issues.

My life straddles our nation’s racial divide as my wife is African American and I have suffered
through my four children’s challenges. I have also observed firsthand how our profession treats
those without the social connections to generate easy revenue. Willie began in a racially
troubled community with no advantages and earned the trust and respect of dozens of national
and regional leaders and attorneys to rise to the highest level of our profession, representing such
international titans as Microsoft. He has exhibited not only skill but a natural and easy
willingness to do those things that bring our professional respect in the community. Corporate
Counsel Women of Color is just one of those causes to which he has donated a tremendous
amount of time and resources. His career was everything elite law schools and the best firms
hope to inspire in a professional.


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New York, New York 10105                                               Telefacsimile 646.349.3429
                                                                    e-mail rps@stonecounsel.com
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It would be easy to compare the man at the apex of our profession to the tiny, feeble man sitting
in the Men’s Detention Center hoping not to die in prison from his cardiac blockages, circulatory
vessel flaws, and two hernias, but the truth is more complicated than that. Willie passed through
a period of profound change.

At the time of the acts for which he was convicted, Willie was presented with challenges unlike
anything he had faced before, and I think challenges he thought he was immune to. He was
devastated to learn the privileges of success he thought he had earned only protected him to the
extent he did not rock the boat. What I observed firsthand was his entire sense of reality being
deconstructed and replaced with a sense that there were no rules, triggering a kind of terror, for
his family, for his profession, and for himself. He fell into a kind of disoriented fog, unable to
gain his bearings and ill-equipped to measure his actions.

Willie’s fog began to clear when his communications were considered for possible prosecution
by the New York District Attorney’s Office. Although that prosecutor declined to bring any type
of charges, he slowly began to realize that acts he had considered to be part of his business
process were going to be scrutinized as a form of violence. He was sincerely shocked. This tiny
fellow had never entertained an act of violence the entire time I knew him. It was not in his
nature. He was a man of principle and had lived by the rule of law, with no prior misconduct.

Willie is nobody’s fool. His federal indictment was a freezing splash of water that cleared the
fog. But what remained from his earliest days was the knowledge that we live in a nation
clinging to race hatred and inequity, to the power of the few over the law of the many. He
transitioned into a period of distrust, magnified by the fact he did not understand federal criminal
procedure or the values behind that procedure. He knew he was in over his head but he could
not trust what he saw before him, particularly the notion of a deferred prosecution which
sounded to him like trial would simply be “deferred” to a time more convenient for the
government.

I have spoken to Willie frequently since he was remanded after his conviction. I picked up his
personal items at the courthouse, have met with him at the MDC, and have tried to organize his
support in a way that shines light on the life this thoughtful, caring man led before this conduct
which risks now ending his life in prison without him having physically harmed anyone or taken
away anyone’s resources. I cannot overstate that he is now face to face with truth. He accepts
he was wrong and that he should have found other means and vastly different language to make
his business positions known, that that is no excuse for his conduct which alarmed three
members of his firm, that he has ended his legal career by his own hand, and he put his very life
in the court’s hands. He knows the life he led is over. His career is finished. His family is
devastated. He will have to work very hard as a very sick and enfeebled man of nearly 61 in
order to build something new and care for his family.

What I know, consistent with Section 3553, is that Congress felt it was important to pass this
statute and has ruled on its seriousness but that sending alarming communications in a business
context falls short of conduct that should, effectively, end a person’s life. It is critical that all
citizens respect the law, but the punishment must be just, that is, in relation to the seriousness of
the damage done. Perhaps most important to the statute underlying this conviction is future
deterrence and protection of the public: for the offense of sending alarming communications,
deterring a tiny, feeble man of Willie’s age, that need not extend his incarceration but can be
managed with parole supervision after release.
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The discussion above, and medical records, objectively support releasing Willie with time served
and or probationary conditions. I am not asking for sympathy for Willie or for any type of free
pass. I am saying the facts support restoring to the community a man who built so much before
these errors in judgment. Please don’t hurt the community by killing this man.

Respectfully,



Richard Paul Stone
RPS:rps
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                                                                                 January 20, 2023

Dear Judge Rakoff,

I am writing to express my support for sentencing leniency for Willie Dennis. As a member of
the community and someone whom Willie's positive influence has personally impacted, I firmly
believe a sentence that reflects compassion and grace would be fair and just considering all of the
circumstances.

I first met Willie in 2004 as a founding member of the Potomac Coalition, an Economic Policy
Development organization focused on the Black Community. While working with Willie, I have
seen firsthand the dedication and passion he brings to improving the lives of those in our
community, including mine. For example, in 2015, Willie and I attended a small policy
discussion with then-Vice President Biden. Willie was critical to the discussion on many
economic policies President Biden is implementing today.

Willie has played a critical role in my personal and professional development, providing
guidance and support. Willie has always sought to find opportunities to connect brilliant people
together that could learn and teach one another. He is uniquely able to empathize, understand
where people stand, and help move them forward. An example of this special work was in his
helping to create the Corporate Counsel for Women and the Council of Urban Professionals
(CUP).

Willie's unique combination of business acumen, emotional intelligence, and wealth of
experience made him an invaluable asset to me throughout my career. His mentorship has been
instrumental in my growth as a professional, and I am extremely grateful for his guidance and
support.

Willie's commitment to the community extends far beyond his work with the Potomac Coalition.
He has been a staunch advocate for the Black Community, working tirelessly to address issues of
economic inequality and systemic racism. His contributions to the community have profoundly
impacted the lives of countless individuals and families.

Considering Willie's substantial contributions to the community, and to the development and
betterment of so many individuals, such as myself, in their professional and personal
development, I am requesting that the Court consider imposing a sentence upon him that
encompasses compassion for a man who has been such a dedicated servant and champion for
progress throughout his life and career. A sentence that demonstrates the Court’s grace and
mercy would acknowledge the good Willie has done and allow him to continue positively
impacting the community.

Thank you for your time and consideration.


Timothy Simons
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                                    Lloyd W. Brown, II
                               50 North Broadway, #8600
                               Tarrytown, New York 10591
                                      (212) 947-4131

                                                                 January 30, 2023
Hon. Jed Rakoff
United States District Judge
United States District Court Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:    Character Letter in connection with the Sentencing of Willie Dennis
              U.S. v. Dennis, 20 Cr. 623

Your Honor,

I am writing to provide a Character Letter in connection with the Court’s sentencing of
Willie Dennis and to respectfully plead for the court’s leniency, grace, and mercy for my
friend, Willie Dennis, in connection with the above captioned matter. I acknowledge my
knowledge of Willie’s conviction and the gravity of the matters for which he has been
convicted. This letter is meant to provide the Court with a fuller picture of the person
that I have known for 41 years as Willie Dennis and not meant in any way to minimize
the harm caused to the victims.

I met in 1981 during our respective undergraduate studies at Columbia University when
I was a freshman, and he was a senior. Consistent with my experiences with Willie over
those years, Willie was taking the time to give guidance and counsel to members of the
then freshman class.

The crimes that Willie has been convicted of are not consistent with the person that I
have known for 41 years

Willie was raised in a law-abiding family. He is the son of working-class parents who
were civil servants and are now retired and living on a fixed income. He is a caregiver for
his parents. He has a younger brother and sister. It is my understanding that his
younger sister passed away in 2017. It is my further understanding that both of Willie’s
parents are also dealing with serious health issues due to their advanced ages. It is my
understanding that prior to Willie’s arrest that Willie has provided financial support and
caring for his elderly and infirmed parents as well as many in his family.
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Willie is divorced from a friend and former colleague of mine. Willie is a proud father of
two sons, one of whom has a learning disability. A year ago, at the graduation of his
youngest son, Willie was very apprehensive, excitable, and embarrassed to be required
to wear an ankle monitor at his son’s graduation. Given Willie’s upbringing and the
values his parents instilled in him to be law-abiding, Willie was embarrassed about
having his sons, family and friends see him wearing an ankle monitor. As such, the
period leading up to his son’s graduation did not reflect the best of Willie as the ankle
bracelet represented that he was in some sort of legal jeopardy.

I have had the opportunity to watch Willie over an extended period of time in formal
and informal settings. Willie’s family and my family have gone on at least five joint
vacations over the years. These vacations have included Disney vacations and other
vacations to Florida. On one Disney vacation where all the kids wanted to go into the
deep end of the pool but most of the parents were non-swimmers, Willie took each
child (more than 10) out on his back to make sure that they all had a safe deep-water
experience. Willie is compassionate and caring. Notwithstanding his stature as a
Partner at some of America’s most prestigious law firms, he exhibited patience,
empathy, and compassion for the safety and wellbeing of all the children around him.

Willie’s propensity to give of himself and aide others was evident when I served as
Board President for one of the largest minority bar associations in New York City. Willie
provided in-kind support and hosted events at his law firm to defray expenses for the
bar association. I am also aware of and have had the benefit of Willie contributing pro
bono services to not-for profit organizations as well as organizations where I’ve served
on the board or as board chair.

Consistent with the Willie that I know, he would always mentor young lawyers and take
senior associates being considered for partner or newly minted partners under his
wings. He has also been known to give newly minted partners a book of business to
aide them in establishing their own book of business as a new partner. Willie also has a
strong affinity to assist Black women attorneys. He has supported and worked with
several women focused groups.

Is it more productive for Willie to be contributing to society and the legal profession in
his twilight years than incarcerated

Based on the jury’s verdict, Willie has erred in his judgment and his actions. And while I
am not attempting to diminish that determination, to the best of my knowledge Willie
has not had similar allegations made against him over his 30+ year legal career. I am


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unaware of any assertions of similar conduct at his current firm, where he had worked
for many years or the other prestigious law firms where he has worked and served as a
Partner, including but not limited to, Akin Gump Strauss Hauer & Feld, Kirkpatrick &
Lockhart, then Reid & Priest.

I respectfully ask the Court for leniency in its sentencing of Mr. Dennis and for
understanding that none of us should be judged singularly on our actions on the worst
day(s) or period of our lives, particularly if it during a period of instability.

I had the benefit of working part-time in the accounting department at one of the
nation’s top 10 law firms while I pursed my undergraduate studies. I gained the benefit
of understanding what 2200 billable hours looks like and the amount of pressure on
attorneys to bill and develop clientele. I was fortunate that an in-house opportunity
presented itself to me within the first year of graduating from law school and that I
ultimately had the opportunity to leave the in-house setting and pursue a non-lawyer
bank regulatory opportunity. I did not have the pressure that attorneys like Willie have
endured for 30 years. Given what I have observed in Willie during the pendency of this
matter, it is my untrained opinion that Willie may have had an undiagnosed break. If my
supposition is correct, Willie needs to receive proper medical care and given the
opportunity to make amends to his victims rather that incarceration. I respectfully ask
the Court to consider probation or serving his term under house arrest.

Willie has been a respected member of the bar for his entire career. His arrest,
termination from his partnership and employment; the loss of friends and impaired
relationship with his children and family members because of his arrest and conviction,
as well as having to wear an ankle bracelet created irreparable harm to his dignity and
self-esteem. The adage that it takes a lifetime to earn a good and honorable reputation
and a moment to lose it is reenforced by the facts and circumstances at hand. It is quite
possible for two things to be true: that the victims in this matter have suffered and that
Willie is also suffering irreparably as well.

If the Court opts not to incarcerate Mr. Dennis, I commit to be a resource of support to
aide Willie in returning to his obedience to and respect of the rule of law

From the day that I received word of Willie’s arrest and that he was being extradited
from the Dominican Republic, I have remained in a state of disbelief. This outcome,
going from being an admired and notable attorney to being incarcerated was not
something that ever appeared to be in Willie’s trajectory. These past few years have
placed a stain on the career of a well-respected attorney. My experience seeing Willie




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held / incarcerated pending sentencing tells me that this outcome isn’t the appropriate
outcome based on actions on the worst days or period of time of his life.

I offer the Court my personal engagement to aide Willie on his road to recovery and
commit to call and or meet with Willie weekly (if he is in the NYC area). I commit to aide
him in getting back on the right track and to get him out of his legal troubles and the
jeopardy he had placed himself in. I hope that I am successful in aiding Willie and
providing another means for restorative justice. I acknowledge that I may not have a
full grasp of what I am committing to taking on, but I commit to this Court to do my very
best to aide Willie on a path to recovery. It is my view that incarceration will destroy a
person filled with kindness and warmth and who beat the odds of those in his
neighborhood. Wille is someone that I have watched grow and serve as a respected
member of society and the legal profession. I will do what I can to lead this situation to a
beneficial outcome.

In conclusion, I respectfully ask the Court for leniency for Willie Dennis. He has lived a
law-abiding life all his life but in a moment of internal crisis, Willie erred badly in his
dealings with his former Partners and colleagues. Willie should be offered the
opportunity to get the help that he needs and the time to make amends to his former
partners and colleagues in a productive manner rather than being incarcerated.


                                                         Respectfully submitted,

                                                         _____________________
                                                         Lloyd W. Brown, II




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                                    Lloyd W. Brown, II
                               50 North Broadway, #8600
                               Tarrytown, New York 10591
                                      (212) 947-4131

                                                                 January 30, 2023
Hon. Jed Rakoff
United States District Judge
United States District Court Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:    Character Letter in connection with the Sentencing of Willie Dennis
              U.S. v. Dennis, 20 Cr. 623

Your Honor,

I am writing to provide a Character Letter in connection with the Court’s sentencing of
Willie Dennis and to respectfully plead for the court’s leniency, grace, and mercy for my
friend, Willie Dennis, in connection with the above captioned matter. I acknowledge my
knowledge of Willie’s conviction and the gravity of the matters for which he has been
convicted. This letter is meant to provide the Court with a fuller picture of the person
that I have known for 41 years as Willie Dennis and not meant in any way to minimize
the harm caused to the victims.

I met in 1981 during our respective undergraduate studies at Columbia University when
I was a freshman, and he was a senior. Consistent with my experiences with Willie over
those years, Willie was taking the time to give guidance and counsel to members of the
then freshman class.

The crimes that Willie has been convicted of are not consistent with the person that I
have known for 41 years

Willie was raised in a law-abiding family. He is the son of working-class parents who
were civil servants and are now retired and living on a fixed income. He is a caregiver for
his parents. He has a younger brother and sister. It is my understanding that his
younger sister passed away in 2017. It is my further understanding that both of Willie’s
parents are also dealing with serious health issues due to their advanced ages. It is my
understanding that prior to Willie’s arrest that Willie has provided financial support and
caring for his elderly and infirmed parents as well as many in his family.
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Willie is divorced from a friend and former colleague of mine. Willie is a proud father of
two sons, one of whom has a learning disability. A year ago, at the graduation of his
youngest son, Willie was very apprehensive, excitable, and embarrassed to be required
to wear an ankle monitor at his son’s graduation. Given Willie’s upbringing and the
values his parents instilled in him to be law-abiding, Willie was embarrassed about
having his sons, family and friends see him wearing an ankle monitor. As such, the
period leading up to his son’s graduation did not reflect the best of Willie as the ankle
bracelet represented that he was in some sort of legal jeopardy.

I have had the opportunity to watch Willie over an extended period of time in formal
and informal settings. Willie’s family and my family have gone on at least five joint
vacations over the years. These vacations have included Disney vacations and other
vacations to Florida. On one Disney vacation where all the kids wanted to go into the
deep end of the pool but most of the parents were non-swimmers, Willie took each
child (more than 10) out on his back to make sure that they all had a safe deep-water
experience. Willie is compassionate and caring. Notwithstanding his stature as a
Partner at some of America’s most prestigious law firms, he exhibited patience,
empathy, and compassion for the safety and wellbeing of all the children around him.

Willie’s propensity to give of himself and aide others was evident when I served as
Board President for one of the largest minority bar associations in New York City. Willie
provided in-kind support and hosted events at his law firm to defray expenses for the
bar association. I am also aware of and have had the benefit of Willie contributing pro
bono services to not-for profit organizations as well as organizations where I’ve served
on the board or as board chair.

Consistent with the Willie that I know, he would always mentor young lawyers and take
senior associates being considered for partner or newly minted partners under his
wings. He has also been known to give newly minted partners a book of business to
aide them in establishing their own book of business as a new partner. Willie also has a
strong affinity to assist Black women attorneys. He has supported and worked with
several women focused groups.

Is it more productive for Willie to be contributing to society and the legal profession in
his twilight years than incarcerated

Based on the jury’s verdict, Willie has erred in his judgment and his actions. And while I
am not attempting to diminish that determination, to the best of my knowledge Willie
has not had similar allegations made against him over his 30+ year legal career. I am


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unaware of any assertions of similar conduct at his current firm, where he had worked
for many years or the other prestigious law firms where he has worked and served as a
Partner, including but not limited to, Akin Gump Strauss Hauer & Feld, Kirkpatrick &
Lockhart, then Reid & Priest.

I respectfully ask the Court for leniency in its sentencing of Mr. Dennis and for
understanding that none of us should be judged singularly on our actions on the worst
day(s) or period of our lives, particularly if it during a period of instability.

I had the benefit of working part-time in the accounting department at one of the
nation’s top 10 law firms while I pursed my undergraduate studies. I gained the benefit
of understanding what 2200 billable hours looks like and the amount of pressure on
attorneys to bill and develop clientele. I was fortunate that an in-house opportunity
presented itself to me within the first year of graduating from law school and that I
ultimately had the opportunity to leave the in-house setting and pursue a non-lawyer
bank regulatory opportunity. I did not have the pressure that attorneys like Willie have
endured for 30 years. Given what I have observed in Willie during the pendency of this
matter, it is my untrained opinion that Willie may have had an undiagnosed break. If my
supposition is correct, Willie needs to receive proper medical care and given the
opportunity to make amends to his victims rather that incarceration. I respectfully ask
the Court to consider probation or serving his term under house arrest.

Willie has been a respected member of the bar for his entire career. His arrest,
termination from his partnership and employment; the loss of friends and impaired
relationship with his children and family members because of his arrest and conviction,
as well as having to wear an ankle bracelet created irreparable harm to his dignity and
self-esteem. The adage that it takes a lifetime to earn a good and honorable reputation
and a moment to lose it is reenforced by the facts and circumstances at hand. It is quite
possible for two things to be true: that the victims in this matter have suffered and that
Willie is also suffering irreparably as well.

If the Court opts not to incarcerate Mr. Dennis, I commit to be a resource of support to
aide Willie in returning to his obedience to and respect of the rule of law

From the day that I received word of Willie’s arrest and that he was being extradited
from the Dominican Republic, I have remained in a state of disbelief. This outcome,
going from being an admired and notable attorney to being incarcerated was not
something that ever appeared to be in Willie’s trajectory. These past few years have
placed a stain on the career of a well-respected attorney. My experience seeing Willie




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held / incarcerated pending sentencing tells me that this outcome isn’t the appropriate
outcome based on actions on the worst days or period of time of his life.

I offer the Court my personal engagement to aide Willie on his road to recovery and
commit to call and or meet with Willie weekly (if he is in the NYC area). I commit to aide
him in getting back on the right track and to get him out of his legal troubles and the
jeopardy he had placed himself in. I hope that I am successful in aiding Willie and
providing another means for restorative justice. I acknowledge that I may not have a
full grasp of what I am committing to taking on, but I commit to this Court to do my very
best to aide Willie on a path to recovery. It is my view that incarceration will destroy a
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member of society and the legal profession. I will do what I can to lead this situation to a
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dealings with his former Partners and colleagues. Willie should be offered the
opportunity to get the help that he needs and the time to make amends to his former
partners and colleagues in a productive manner rather than being incarcerated.


                                                         Respectfully submitted,

                                                         _____________________
                                                         Lloyd W. Brown, II




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                                                          January 2023
Hon. Judge Rakoff
U.S. District Court
Southern District of New York

RE: Willie E Dennis (Defendant)

Dear Honorable Judge,

I am writing to articulate my unquestioned support for Willie E Dennis in his unfortunate
current circumstances. I've known Mr. Dennis for over 54 years. He comes from a tight-knit
and supportive family circle. Over the years he has exhibited extraordinary family and
community loyalty. I have been the beneficiary of his kindness, professionalism and desire
to help. Shortly after my graduation from college and relocation to the NYC area, Mr. Dennis
was instrumental with advice as well as providing professional wardrobe in order for me to
be successful in my career endeavors. During my journey Mr. Dennis has always been there
to lean on during my financial crisis.
Certainly, Mr. Dennis' actions taken in relation this case to resolve some of his professional
issues are questionable at best. I am proposing that rather than simply focusing these poor
choices and wrong-headed actions that the Court also consider the totality of his overall
positive contributions to society and community throughout his life. Mr. Dennis is a valued
member to his community and family. I recognize that we all experience problems in life
and Mr. Dennis has had more than his fair share, especially in recent years. Mr. Dennis has
endured the death of multiple close family members, declining health of his parents in
which he is a primary health care provider and his own personal health crises. Mr. Dennis
poses no legitimate threat to society. Accordingly, I am requesting the Court mercy and
grace in making its critical determinations as to Mr. Dennis future and the remainder of his
life.


Respectfully yours,

_______________________
Robert D Black
704-281-1745
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                                                             January 2023
Hon. Jed Rakoff
U.S District Court
Southern District of New York

RE: Willie Dennis


Dear Honorable Judge:


Thank you for your consideration of my letter on behalf of my dear Cousin, Mr. Willie Eugene
Dennis.

Willie is my older cousin. He has known me all of my life and I have fond memories of his
impact in my life since my early teens. As far back as I can remember, Willie has always been a
loving, supportive, valued member of our extended family in general and to me personally.

After contemplating the legal troubles my Cousin is having, it grieves me deeply to think that
one of our family's shining Black princes - a doting son and highly accomplished father of two
amazing sons - is facing the prospect of going to prison and the risk of missing the last few years
of his parents' time on Earth.

My cousin has always encouraged me in our shared faith to believe that with God all things are
possible. It is my prayer that my cousin not be sent to prison so that he can be available to his
sons and his aged parents, and so that he can receive the loving support he needs from our
extended family so that he can rebuild his life. It is my firm belief that my Cousin poses no
present threat or danger to anyone in any manner, even to those against whom he may have
transgressed against in the past.


Thank you, again, for your favorable consideration of my letter and may God bless you.


Respectfully yours,
The Rev. Vivian James, M.A.
Ordained Itinerant Elder,
The African Methodist Episcopal Church - 1st Episcopal District
(New England, Delaware, New York, Pennsylvania and Bermuda)
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                                                                                         Akin Gump
                                                                                         STRAUSS HAUER & FELD LLP


                                                                                        ANTHONY T. PIERCE
                                                                                        +1 202.887.441 1/fax: +1 202.887.4288
                                                                                        apierce @ akingump.com




                                                     January 11, 2023



The Honorable Jed S. Rakoff
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-13 12

       Re:        Mr. Willie Dennis

Dear Judge Rakoff:

        I am writing in my personal capacity on behalf of Mr. Willie Dennis in connection with
his upcoming sentencing. I am a partner at Akin Gump where Willie was also a partner many
years ago. Moreover, I consider Willie to be a friend in addition to being a former colleague.
We are also neighbors so to speak as we built vacation homes in the same complex in the
Dominican Republic. For more than 20 years, I have known Willie to be kind-hearted, generous
towards others and an upstanding citizen. Willie and I have been involved in political and
professional events, philanthropic efforts, and family gatherings. I hope that you will take this
into account when sentencing him. I do not believe his conduct was in any way consistent with
the Willie I know. I believe he has great capacity to overcome his current situation and return to
being a productive member of society.

                                                            Sincerely,



                                                            Anthony T. Pierce




       Robert S. Strauss Tower 2001 K Street, N.W. I Washington, DC 20006-1037 I 202.887.4000 I fax 202.887.4288 akingump.com
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